Dismissed and Memorandum Majority and Dissenting Opinions filed August
15, 2024.




                                      In The

                    Fourteenth Court of Appeals

                              NO. 14-24-00351-CV
                              NO. 14-24-00362-CV
                              NO. 14-24-00459-CV
                              NO. 14-24-00460-CV

                   IN THE MATTER OF C.K.G., Appellant

                    On Appeal from the 315th District Court
                            Harris County, Texas
              Trial Court Cause Nos. 2024-00894J &amp; 2024-00895J

                 MEMORANDUM DISSENTING OPINION

      The majority treats these appellate cases as interlocutory appeal, and perhaps
they are. But we need not decide that issue because these appeals are brought by a
parent in this juvenile-justice proceeding, not by or on behalf of the juvenile
appellant. See generally Juvenile Justice Code, Tex. Fam. Code Ann. § 56.01 (right
to appeal).
        Appellant’s father filed the following four notices of appeal on May 13,
2024:

               Notice is hereby given that [Father] parent/guardian of [C.K.G.]
        hereby appeals the ORDER APPOINTING GUARDIAN AD-LITEM
        given by the Court on May 9, 2024 pursuant to Texas Family
        Code § 61.004. [Father] (Hereinafter “FATHER”) objects to the
        appointing of any ad litem guardian who is not a parent of [C.K.G.].
        Appointing a Homosexual guardian over a Heterosexual male would
        violate and infringe upon the parents and child’s religious beliefs
        protected by the First Amendment of the United States Constitution.
        This unlawful action was taken without notice in violation of Texas
        Family Code § 61.003. The FATHER asserts and contends that the
        Court DID NOT satisfy certain requirements of Due Process of Law
        that must be satisfied before entering such ORDER. The Court did not
        provide the Parents {Father} and [Mother] with sufficient notice, in
        writing or orally in a recorded court hearing, of any proposed ORDER
        in regards to guardianship, AND the Court failed to provide the
        parents sufficient opportunity to be heard on the matter.
              [Father] hereby invokes an AFFIRMATIVE DEFENSE against
        all request from any COURT APPOINTED GUARDIAN. The
        TRANSCRIPT AND RECORD will reflect that the Court Judge did
        not provide the parent with due process of law during the proceeding
        in which the Court entered its Original ORDER therefore this ORDER
        should be vacated and stricken from the RECORD. Texas family
        Code § 61.055(g)
            TRANSCRIPT AND RECORD SHOULD BE SENT OVER
        TO THE COURT OF APPEALS. [Father] REQUEST THAT THE
        ENTIRE RECORD BE SENT. NOTHING OMITTED.
The notices of appeal must be brought by or on behalf of appellant. See Juvenile
Justice Code, Tex. Fam. Code Ann. § 56.01(c)(1); see In re A.E.E., 89 S.W.3d 250,
253–54 (Tex. App.—Dallas 2002, no pet.).

        I would allow the notices of appeal to be amended if Father wished to clarify
that he was bringing the appeals on behalf of appellant. See Tex. R. App. P.



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25.1(g). The court, however, has not given Father notice of this jurisdictional
problem and an opportunity to cure.

      The court neither follows the precedent from our sister court, nor explains
why it does not. I respectfully dissent to the failure to give notice to Father.




                                        /s/       Charles A. Spain
                                                  Justice



Panel Consists of Chief Justice Christopher and Justices Spain and Poissant.




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